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 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                                 NORTHERN DISTRICT OF CALIFORNIA
 8

 9   In re                                             Case No. 18-10280
     Martha Manzo
10                                                     Chapter 13
11                  Debtor.                            FINAL REPORT OF MORTGAGE
                                                       MODIFICATION MEDIATION PROGRAM
12                                                     MEDIATOR
13

14           Matthew Clark                  , the Court-appointed Mortgage Modification Mediation

15   Program (the “MMM Program”) mediator (the “Mediator”) in the above-captioned case, hereby

16   reports as follows:

17           X      1.        On 01-25-2019               , the final MMM Conference was conducted

18   and the parties:

19                            Reached a trial loan modification agreement.
                              Reached a final loan modification agreement.
20                      X     Failed to reach an agreement.
                              Other (specify):
21

22          The following persons were in attendance at the MMM Conference:

23                      X     Debtor:                      Yes
                        X     Debtor’s Attorney:           Yes
24                            Co-Debtor / Co-Borrower:
                        X     Debtor’s Attorney:           Yes
25                      X     Lender’s Representative:     Yes
                              Other:
26

27                  2.        The final MMM Conference was scheduled for                                      ,

28   but the conference was not conducted for the following reason(s) (select all that apply):
     FORM ND-MMM-201                                  1                           VERSION 1.00 (August 1, 2015)

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 1                          The parties settled prior to the conference.
                            The above-captioned case was dismissed.
 2                          The Debtor failed to attend.
                            The Debtor’s attorney failed to attend.
 3                          The Lender’s representative failed to attend.
                            The Lender’s attorney failed to attend.
 4                          Other:
 5                                                                                                               .
 6           X      3.      The Debtor’s attorney fully performed all services required by the

 7   Mortgage Modification Program Procedures and participated in all MMM Conferences, and the

 8   failure of the parties to reach an agreement in this matter was no fault of the Debtor’s attorney.

 9                  4.      The Mediator further reports:

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17   Dated: 03-29-2019                                     Respectfully submitted,

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19                                                         By: //s//Matthew Clark

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     FORM ND-MMM-201                                   2                             VERSION 1.00 (August 1, 2015)

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